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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA               )
                                       )
v.                                     )    Case No. 21-cr-00378-TJK
                                       )
ARTHUR JACKMAN, et al.,                )
                                       )
       Defendant.                      )




                                 NOTICE OF JOINDER

       NOW comes Defendants Kevin and Nathan Tuck by and through their

counsel of record, William L. Shipley, Esq., and respectfully joins the separate

motions filed by defendants Edward George and Paul Rae to vacate and reset

the trial date in this matter:

     (1) Defendant George’s Motion to Continue Trial, ECF No. 184.

     (2) Defendant Rae’s Motion to Continue Trial, ECF No. 185

       For the Court’s consideration on the issue of rescheduling the trial date,

undersigned counsel hereby advises the Court that he is set to begin trial in

the District of Hawaii on October 28, 2024 in a multidefendant fraud trial.

       Other calendaring conflicts already in place make mid-January 2025 the

earliest that undersigned counsel can reschedule trial in this matter.

       Further, undersigned counsel is currently in discussions with the jointly

represented defendants Kevin and Nathan Tuck the potential need for a second

attorney to be brought into the case as separate counsel for one or the other.

That decision should be made in the next 10 days, and continuing the trial

date would give that counsel additional time to be fully prepared.
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Dated: June 27, 2024               Respectfully Submitted,




                                   William L. Shipley, Jr., Esq.
                                   PO BOX 745
                                   Kailua, Hawaii 96734
                                   Tel: (808) 228-1341
                                   Email: 808Shipleylaw@gmail.com

                                   Attorney for Defendant
